             Case 2:21-mj-00014-DAO Document 12 Filed 01/27/21 PageID.43 Page  1 of 2
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                                  UNITED STATES PROBATION OFFICE           CLERK
                                     FOR THE DISTRICT OF UTAH        U.S. DISTRICT COURT

                    Petition and Order for Action on Conditions of Pretrial Release

 Name of Defendant: John Earle Sullivan                        Docket Number: 2:21-00014M-001

 Name of Judicial Officer:     Honorable Daphne A. Oberg
                               U.S. Magistrate Judge

 Date of Release:    January 15, 2021


                                     PETITIONING THE COURT

 To issue a Summons:


                                                       CAUSE

The probation officer believes that the defendant has violated the conditions of supervision as follows:

Allegation No. 1: On or about January 17, 2021, the defendant failed to comply with the provisions outlined
in Appendix A - Limited Internet Access (Computer and internet use, as approved) of the United States
Probation and Pretrial Services Office Computer and Internet Monitoring Program.

Evidence in support of this allegation is contained in the reports of the Pretrial Services Office.

Allegation No. 2: On or about January 18, 2021, the defendant failed to comply with the provisions outlined
in Appendix A - Limited Internet Access (Computer and internet use, as approved) of the United States
Probation and Pretrial Services Office Computer and Internet Monitoring Program.

Evidence in support of this allegation is contained in the reports of the Pretrial Services Office.

Allegation No. 3: On or about January 19, 2021, the defendant failed to comply with the provisions outlined
in Appendix A - Limited Internet Access (Computer and internet use, as approved) of the United States
Probation and Pretrial Services Office Computer and Internet Monitoring Program.

Evidence in support of this allegation is contained in the reports of the Pretrial Services Office.

Allegation No. 4: On or about January 26, 2021, the defendant failed to comply with the provisions outlined
in Appendix A - Limited Internet Access (Computer and internet use, as approved) of the United States
Probation and Pretrial Services Office Computer and Internet Monitoring Program.

Evidence in support of this allegation is contained in the reports of the Pretrial Services Office.
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                                                                                      John Earle Sullivan
                                                                                       2:21-00014M-001


                               I declare under penalty of perjury that the foregoing is true and correct.



                                                            _________________________________
                                                            By    Josh Cahoon
                                                                  U.S. Pretrial Services Officer
                                                                  Date: January 27, 2021


THE COURT ORDERS:

✓
 The issuance of a Summons
 The issuance of a Warrant
 No action
 Other: __________________________


                                                         ______________________________
                                                         Honorable Daphne A. Oberg
                                                         U.S. Magistrate Judge

                                                         Date: January 27, 2021
